          Case 1:21-cv-01665-EDK Document 10 Filed 10/29/21 Page 1 of 2




              In the United States Court of Federal Claims
                                            (Pro Se)


                                                )
    GRACE COMMUNITY CHURCH OF                   )
    THE VALLEY,                                 )
                                                )
                       Plaintiff,               )             No. 21-1665C
                                                )             (Filed: October 29, 2021)
         v.                                     )
                                                )
    THE UNITED STATES OF AMERICA,               )
                                                )
                       Defendant.               )



                                            ORDER

         The complaint in this case was filed on August 3, 2021 by Gregory Joseph Podlucky,
purporting to represent the Grace Community Church of the Valley (“Grace Community
Church”). The complaint alleges a Fifth Amendment taking arising out of the government’s
failure to return to Grace Community Church certain property subject to criminal forfeiture in
United States v. 11 Lloyd Avenue, No. 06-467 (W. D. Pa.). See Compl. at 1, 3, 6, ECF No. 1.
Mr. Podlucky who is not an attorney, also filed a motion to proceed in forma pauperis (“IFP”) on
Grace Community Church’s behalf. ECF No. 2. 1 That motion is GRANTED for the sole
purpose of dismissing the case as set forth below.

        On August 12, 2021, the Court directed Plaintiff to either obtain counsel who is a
member of the bar of this Court, or to file an explanation as to why the Rule 83.1(a)(3) of the
Rules of the Court of Federal Claims (“RCFC”), which prohibits “[a]n individual who is not an
attorney” from “represent[ing] a corporation, an entity, or any other person in any proceeding
before this court,” was not applicable in this case. Order (“Show Cause Order”), ECF No. 6.

       In his response to the Show Cause Order, Mr. Podlucky asserts that five prior attorneys
“were unsuccessful for protecting the interest of Grace Community Church,” and that the entity

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  On June 20, 2011, Mr. Podlucky pled guilty to income tax evasion, mail fraud, and conspiracy
to commit money laundering after a grand jury returned a five-count indictment against him and
his family on charges related to fraud. See United States v. Podlucky, No. CR 11-37, 2019 WL
1359486, at *1 (W.D. Pa. Mar. 26, 2019). Mr. Podlucky has filed at least four other cases in this
court in his own name concerning the criminal case and subsequent asset forfeiture. See
Podlucky v. United States, No. 21-1377 (Fed. Cl. May 17, 2021); Podlucky v. United States, No.
21-1633 (Fed. Cl. July 29, 2021); Podlucky v. United States, No. 21-1634 (Fed. Cl. July 29,
2021); Podlucky v. United States, No. 21-1686 (Fed. Cl. Aug. 11, 2021).
         Case 1:21-cv-01665-EDK Document 10 Filed 10/29/21 Page 2 of 2




has “exhausted all reasonable efforts [and] available financial resources through the unsuccessful
services rendered by these five attorneys.” Pl.’s Explanation as to Why Rule 83.1(a)(3) is Not
Applicable at 1–2, ECF No. 9. Mr. Podlucky further claims that he possesses “demonstrated
extraordinary legal ability for litigating the protection of [the Church’s] interests that inures to
the benefit of the general public.” Id. at 4. Mr. Podlucky states that he demonstrated this
“extraordinary legal ability” in settlement negotiations that supposedly persuaded the United
States Bankruptcy Court for the Western District of Pennsylvania to approve his representation
of Grace Community Church in bankruptcy proceedings. Id. at 25, 32 (pointing to Chief
Bankruptcy Judge M. Bruce McCullough’s Order Approving Settlement Agreement, which does
not mention either Mr. Podlucky or Grace Community Church). Further, Mr. Podlucky claims,
“the circumstances are extraordinary in this case.” Id. at 39.

        These arguments lack merit. There are no exceptions to RCFC 83.1(a)(3)’s requirements
for “extraordinary circumstances.” In particular, there is no exception provided for circumstances
in which a proposed lay representative claims that he or she has “extraordinary legal ability,” or
where the entity has had difficulty finding counsel with which it is satisfied, or where the entity
cannot afford competent counsel. See id. at 38–39; see also Finast Metal Prods., Inc. v. United
States, 12 Cl. Ct. 759, 761 (1987) (“[A] corporate ‘person’ can no more be represented in court
by a non-lawyer—even its own president and sole shareholder—than can any individual.”);
Richdel, Inc. v. Sunspool Corp., 699 F.2d 1366, 1366 (Fed. Cir. 1983) (holding that entity’s
“substantial financial hardship” could not overcome rule requiring corporations to be represented
by counsel).

        A violation of the rule prohibiting an individual who is not an attorney from representing
a corporation or entity is grounds for dismissal for lack of prosecution pursuant to RCFC 41(b),
which provides that the Court may dismiss an action where a plaintiff fails “to comply with these
rules or a court order.” See, e.g., Balbach v. United States, 119 Fed. Cl. 681, 683 (2015) (citing
Talasila, Inc. v. United States, 240 F.3d 1064, 1066 (Fed. Cir. 2001)).

        Accordingly, the Court directs the Clerk to DISMISS Plaintiff’s complaint without
prejudice for failure to comply with the Court’s August 12 Show Cause Order that it either
obtain counsel or show why RCFC 83.1(a)(3) does not apply here.

       IT IS SO ORDERED.



                                                     s/ Elaine D. Kaplan
                                                     ELAINE D. KAPLAN
                                                     Chief Judge




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